       Case 1:23-cv-11775-MJJ          Document 114         Filed 06/23/25       Page 1 of 2




                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


 FRANCESCA GINO,

        Plaintiff,

                 v.                                       Civil Action No. 1:23-cv-11775-MJJ

 PRESIDENTS AND FELLOWS OF HARVARD
 COLLEGE, SRIKANT DATAR, JOHN DOES 1-
 10, AND JANE DOES 1-10,

        Defendants.


              PLAINTIFF’S MOTION TO SEAL MATERIALS SUBMITTED
          IN SUPPORT OF HER OPPOSITION TO MOTION FOR SANCTIONS

       Pursuant to Local Rule 7.2, Plaintiff seeks leave to file under seal the following

documents submitted in support of her opposition to the pending motion for sanctions:

              Witness Statement of Gary Pisano (Opposition Exhibit B);

              Email dated June 27, 2022 (Opposition Exhibit C); and

              Witness Statement of Frances Frei (Opposition Exhibit D)

As good cause for this motion, Plaintiff states that these materials were created in connection with

a confidential proceeding under Harvard University’s Third Statute, and that the public filing of

these documents may be contrary to a reasonable expectation of privacy held by certain third-

parties referenced therein.

       As the relevant portions of these documents is referenced in Plaintiff’s Opposition, the

sealing of these documents will not be contrary to the public’s right to access judicial records.

       In the alternative, Plaintiff seeks leave to file redacted copies of these documents, with only

the portions thereof relevant to Plaintiff’s motion unredacted, and all identifying information of

third-party witnesses redacted.
      Case 1:23-cv-11775-MJJ            Document 114         Filed 06/23/25      Page 2 of 2




                                          CONCLUSION

       For the reasons set forth above, Plaintiff respectfully request that this Court allow the relief

requested above.




                                                       Francesca Gino

                                                       By her attorneys,

                                                       /s/ Patrick J. Hannon
                                                       Barbara A. Robb (BBO #639976)
                                                       Patrick Hannon (BBO #664958)
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Dated: June 23, 2025




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